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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                        LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                         *      CRIM. NO. 06-60074-01

 VERSUS                                           *      JUDGE DOHERTY

 ERICA JOSEPH ALEXANDER                           *       MAGISTRATE JUDGE HILL

                        REPORT AND RECOMMENDATION
                      (Motion to Dismiss Count 1 – Record Doc. 99)

        The defendant, Eric Joseph Alexander, has filed a motion to dismiss count one of

 indictment, the conspiracy count, alleging that this count deprives him of his Sixth

 Amendment right to trial by jury and his Fifth Amendment right to due process. [Record

 Doc. 99]. The government opposes the motion. [Record Doc. 286]. For the following

 reasons, the undersigned recommends that this motion be denied.

 THE INDICTMENT

         Count one of the indictment charges that the defendants, including Alexander,

 conspired to possess with intent to distribute 5 kilograms or more of a mixture or

 substance containing cocaine, 50 grams or more of a mixture or substance containing

 cocaine base (crack) and 1000 kilograms or more of marijuana, in violation of 21 U.S.C.

 § 846 and 21 U.S.C. § 841(a)(1). The indictment mirrors the language found in both

 statutes.
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 LAW AND ANALYSIS

        The defendant, in large part, makes arguments which deal with sentencing issues,

 the United States Sentencing Guidelines and whether or not the defendant might be

 entitled to a jury charge on lesser included offenses. Obviously, none of those issues are

 properly raised by a motion to dismiss; they are trial issues, or post-trial issues.

 Accordingly, the undersigned is somewhat hesitant in characterizing the basis of the

 defendant’s motion to dismiss.

        However, Alexander’s argument seems to be that a jury verdict based on count one

 of this indictment would violate the rules set out by the United States Supreme Court in

 Blakely v. Washington, 124 S.Ct. 2531 (2004), Apprendi v. New Jersey, 120 S.Ct. 2348

 (2000) and Cunningham v. California, 127 S.Ct. 856 (2007). The defendant’s argument

 seems to be that since the jury must find “any fact other than that of a prior conviction,

 which increases the penalty for the offense based on proof beyond a reasonable doubt,”

 [Record Doc. 99, page 2] that the specific amount of drugs charged must be set out in the

 indictment. The undersigned comes to that conclusion based on the last paragraph of the

 defendant’s motion, in which the defendant asks that count one of the indictment be

 dismissed because “the indictment failed to allege a quantity of each drug.” [Record Doc.

 99, page 8-9]. Accordingly, the undersigned will treat the defendant’s motion as a

 motion to dismiss count one of the indictment for the failure of that count to allege, with

 specificity, the amount of each drug that the government contends the defendant



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 conspired to possess with the intent of distributing.

         The defendant cites the court to no authority in support of his argument that the

 failure of the indictment to allege a specific quantity of each drug that the defendant

 conspired to possess, requires dismissal. Similarly, the government cites the court to no

 authority on this issue, simply arguing that the court, after conviction, is entitled to make

 the determination regarding the amount of drugs involved for sentence enhancement.

 Simply stated, the government does not address the motion to dismiss at all.

          The court’s own research has disclosed no support for what the court understands

 to be the basis of the defendant’s motion. In fact, the court’s research leads to the

 conclusion that the motion to dismiss must be denied.

          In United States v. Gordon, 248 Fed Appx. 521 (5 th Cir. 2007), the court said:

                 Gordon argues that the guideline enhancements should have been charged
                 in the indictment and decided by a jury. Contrary to his arguments, the
                 district court “is entitled to find by a preponderance of the evidence all the
                 facts relevant to the determination of a guideline sentencing range.” United
                 States v. Mares, 402 F.3d 511, 519 (5 th Cir. 2005).
 At page 525.1

         In Mares, the Fifth Circuit said,

                  [T]he Sixth Amendment will not impede a sentencing judge from finding

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          The Fifth Circuit in Gordon noted that: This case was not selected for publication in the Federal
 Reporter. However, Rule 32.1, FRAP, provides that, as to opinions issued on or after January 1, 2007, a
 court may not prohibit or restrict the citation of federal judicial opinions, orders, judgments, or other
 written dispositions. Fifth Circuit Rule 47.5.4 provides that while unpublished opinions may be cited
 pursuant to Rule 32.1, FRAP, such cases are not precedent, except under the doctrine of res judicata,
 collateral estoppel or law of the case (or similarly to show double jeopardy, notice, sanctionable conduct,
 entitlement to attorney's fees, or the like). Even if Gordon is not binding precedent, the undersigned
 finds the court’s reasoning persuasive and finds its reliance on Mares well placed.

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                all facts relevant to sentencing. (citation omitted) The sentencing judge is
                entitled to find by a preponderance of the evidence all the facts relevant to
                the determination of a Guideline sentencing range and all facts relevant to
                the determination of a non-Guideline sentence.
 At page 519.

         It logically follows that if the sentencing judge is entitled to find all the facts

 relevant to the determination of a guideline sentencing range, and if that finding is made

 using the legal standard of “preponderance of the evidence”, it is not necessary that the

 indictment on which the defendant is tried state with specificity the precise amount of

 drugs that the government intends to prove, so long as the minimum amounts which

 trigger the various sentencing levels are charged, as is the case here.

        The precise argument raised by the defendant here was specifically rejected by the

 First Circuit in United States v. Nelson-Rodriguez , 319 F.3d 12 (1 st Cir. 2003) cert.

 denied, 123 S.Ct. 2589 (2003). There, the court said

               Defendants argue that the indictment was inadequate in that it made only
              vague allegations as to the type and quantity of the drugs involved in the
              conspiracy. It is true that Apprendi considers any fact (other than a prior
              conviction) that increases the penalty for a crime beyond the statutory
              maximum to be an element of the crime. But the indictment here easily
              meets this requirement. The superseding indictment charged that the
              defendants possessed with intent to distribute over 1000 kilograms of
              cocaine, 5 kilograms of heroin, and 5000 pounds of marijuana. . . . Such
              detail is more than sufficient to meet Apprendi’s mandate, and we therefore
              reject defendants’ claim.
 At page 44-45.

        Based on Mares, Gordon and Nelson-Rodriquez, it is clear that the indictment in

 this case is constitutionally sufficient. The indictment, which tracks the wording of the



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 statutes, gives sufficient notice to the defendant of that crime which the Government

 intends to prove. The indictment also informs the defendant of the maximum possible

 penalty which he faces. Whether or not the defendant is entitled to receive a lesser

 included offense charge, the way in which the jury is charged regarding the amount of

 drugs proven and the form of the verdict which is provided to the jury is a matter for trial.

 If the defendant is convicted, the guideline range will be determined by the trial court

 after receiving a Pre-sentence Investigation Report.

        The defendant has cited the court to no authority in support of his argument; the

 court’s own research indicates that the defendant’s argument should be rejected.

 Accordingly, for the above reasons, the undersigned recommends that the defendant’s

 motion to dismiss count one of the indictment be denied.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have ten (10) business days from service of this report

 and recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party's objections within ten (10) days after being served with a

 copy of any objections or response to the District judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within ten

 (10) days following the date of its service, or within the time frame authorized by

 Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual



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 findings or the legal conclusions accepted by the District Court, except upon

 grounds of plain error. See Douglass v. United Services Automobile Association, 79

 F.3d 1415 (5th Cir. 1996).

       May 12, 2008, Lafayette, Louisiana.




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